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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

United States of America, Case:2:22-cr-20321

inti Judge: Michelson, Laurie J.
Plaintiff, MJ: Grey, Jonathan J.C.
Filed: 06-23-2022 At 10:04 AM
v. SEALED MATTER (LH)

D-1 Emmanuel Luter,
a/k/a Stuntman,

D-2 Joseph Ingram,

D-3 Donnell Taylor,

a/k/a Devin Harris,
a/k/a Zialou,

D-4 Dominique “Dom” Barnes, Violations: 18 U.S.C. § 1349

D-5 Delano “Lano” Bush, 18 U.S.C. § 1028A(a)(1)
a/k/a Duzz,

D-6 Dalontae Davis,
D-7 Joshua Motley,

a/k/a Scrap,
Defendants.
/
INDICTMENT
THE GRAND JURY CHARGES:
GENERAL ALLEGATIONS

At all times material to the indictment:

1. The “Clear Gods” were a group of individuals throughout the Detroit
metropolitan area who engaged in a largescale cell phone fraud scheme, stealing
the identities of hundreds of real persons, and defrauding dozens of AT&T and

Apple stores throughout the United States.

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2. The defendants EMMNAUEL LUTER, JOSEPH INGRAM,
DONNELL TAYLOR, DOMINIQUE BARNES, DELANO BUSH, DALONTAE
DAVIS, and JOSHUA MOTLEY were residents of the Detroit, Michigan
metropolitan area.

3. The defendants referred to themselves, internally and externally, as
the “Clear Gods.”

4. “Clear Gods” is a reference to the process of “clearing” or removing/
reversing new service lines and device upgrades from a given cellular account, a
key element of the overarching fraud scheme.

5. AT&T Inc. is a U.S.-based telecommunications company and the
largest provider of mobile telephone services in the United States. AT&T Inc. is
headquartered in Dallas, Texas

6. Apple Inc. is a U.S.-based technology company that designs,
develops, and sells consumer electronics, including the iPhone family of mobile

communications devices. Apple Inc. is headquartered in Cupertino, California.

COUNT ONE
(18 U.S.C. § 1349 - Conspiracy to Commit Wire Fraud)

7. Beginning on a date unknown to the grand jury, but at least as early as

June 2017 and continuing through at least September 2019, the exact dates being
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unknown to the grand jury, in the Eastern District of Michigan and elsewhere, the
defendants,
D-1 Emmanuel Luter, a/k/a Stuntman,
D-2 Joseph Ingram,
D-3 Donnell Taylor, a/k/a Devin Harris, a/k/a Zialou,
D-4 Dominique “Dom” Barnes,
D-5 Delano “Lano” Bush, a/k/a Duzz,
D-6 Dalontae Davis,
D-7 Joshua Motley, a/k/a Scrap,
along with others known and unknown to the grand jury, did knowingly and
willfully combine, conspire, confederate, and agree to commit wire fraud, in

violation of 18 U.S.C. § 1343.

OBJECT OF THE CONSPIRACY

8. The object of the conspiracy was for the defendants to fraudulently
enrich themselves through a scheme and artifice to defraud by obtaining, without
authorization, personally identifiable information (PII) belonging to other persons
and then using that PII to acquire significant numbers of Apple-branded cellular
devices on credit, by charging the devices to customer accounts held in the names
of their victims, without the victims’ authorization.

9. In total, the scheme encompassed more than 26,000 fraudulent

transactions, resulting in an approximate loss of more than $28,000,000.

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MANNER AND MEANS

10. In furtherance of the conspiracy, and to effect the object and purposes
thereof, the defendants, and others known and unknown to the grand jury, used the
following manner and means, including but not limited to the following:

a. The members of the conspiracy obtained the names, addresses, social
security numbers, and other PII of various persons from internet
“dump” websites and other locations through which people buy and
sell stolen credit accounts and PII in bulk.

b. The members of the conspiracy shared the unlawfully acquired PII
with each other, often via text message or other means of electronic
communication in interstate commerce.

c. The members of the conspiracy used the unlawfully acquired PII to
open customer cellular accounts (or to access already-opened
customer cellular accounts) with AT&T. Following the successful
completion of a credit check, the members of the conspiracy also
added themselves and their associates as “authorized users” on the
fraudulent accounts, allowing those individuals to charge devices to

the accounts.

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d. Initially, certain members of the conspiracy obtained fake
identification in the names of the victims. However, in the later stages
of the scheme, the conspiracy shifted to a “common name” method of
identity fraud, whereby they specifically sought out PII for individuals
with the same (or similar) names as members of the conspiracy.
Setting up accounts and upgrading lines in these “common names”
eliminated the needs for fraudulent identification cards, due to the
similarity between the names of the victims and the coconspirators.

e. After a member of the conspiracy obtained either accountholder or
authorized-user status, the coconspirators (or their associates) then
entered one of a variety of retail stores, in a variety of states—most
frequently Apple stores but occasionally AT&T stores or other retail
chain stores—to “upgrade” the service lines on the accounts and
obtain brand new devices (most commonly iPhones, but occasionally
other types of cellular devices). These devices were then “charged” to
the fraudulent customer cellular accounts or otherwise purchased on

credit, with defendants typically needing to pay, at most, a small

upgrade fee per device.
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f. The members of the conspiracy used a variety of methods to reverse
or “clear” the newly added services lines or upgrades from the victim
accounts, allowing them to either repeat the previous step of the
scheme at another Apple store location, or prolong the overall scheme
by delaying the victims’ discovery of the scheme. This process
typically continued for a given account until AT&T flagged the
account and closed it because of suspected fraudulent activity.

g. The members of the conspiracy routinely communicated with one
another in real time during the executions of the fraud scheme, with
one individual (inside a store fraudulently acquiring devices) texting
another individual (providing PII to the first individual to use in
answering account-access questions; or clearing lines).

h. The members of the conspiracy employed various methods to gain
unauthorized access to AT&T’s computer systems for the purpose of
creating AT&T accounts, fraudulently adding authorized users, and
for clearing the fraudulent upgrades from the service lines. At the
beginning of the scheme, this involved the collusive-acquisition or
theft of RSA tokens and employee IDs, allowing defendants to later

impersonate AT&T retail sales employees while interacting with the

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AT&T Sales Support Center (known internally at the time as Direct
Marketing-Direct Retail, or “DMDR”) to open new accounts; the
defendants also impersonated retail sales employees in telephone calls
with AT&T’s Retail Sales and Support “RSS” team to make changes
to existing accounts.

i. As the scheme progressed and AT&T restricted employee tokens to
allow access exclusively via AT&T equipment (as opposed to remote-
access using personal computing equipment), members of the
conspiracy took steps to acquire actual AT&T-networked devices—
this included social engineering and sleight-of-hand “swapping” of
broken or disabled tablets for active tablets from retail sales
employees; the outright theft (or collusive acquisition) of retail sales
employees’ tablet-computers; and the occasional, strong-armed theft
of desktop computer towers from AT&T stores.

j. Once the members of the conspiracy had acquired devices capable of
accessing AT&T’s computer systems, the scheme progressed
similarly to its prior iteration, with defendants continuing to obtain
employee credentials and then opening—or adding users to—accounts

directly, using the stolen or otherwise unlawfully-acquired devices.
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k. The members of the conspiracy employed a variety of techniques to

obtain login credentials, including social engineering (to “shoulder
surf” login credentials from retail sales employees during
transactions); paying bribes to retail sales employees (to purchase
their login credentials); and threats of force or violence (to coerce
retail sales employees into giving up their login credentials
voluntarily); and on at least three occasions, certain of the defendants
used actual force to attempt to coerce a retail sales employee to give
up their login credentials.

Throughout the scheme, to decrease the likelihood of getting caught,
coconspirators regularly and routinely sought to work with corrupt
AT&T retail store employees. Members of the conspiracy referred to
these corrupt employees as “in-stores.” The coconspirators identified
and worked with “in-stores” employed by several different retail
chains, across multiple cities, spanning multiple states.

. Ultimately, the end goal of the scheme was for the members of the
conspiracy to liquidate their fraudulently acquired devices through
one or more fences or “plugs,” essentially laundering the proceeds of

their scheme.
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11. When using cellular devices (including text messages) to
communicate with one another about the scheme—including the sharing of victim-
PII— while in different states, the defendants knowingly transmitted and caused to
be transmitted in interstate commerce, by means of wire communication, certain
writings, signs, signals, pictures, and sounds, for the purpose of executing the
scheme to defraud.

12. When adding devices and service lines to (or “clearing” devices or
service lines from) customer accounts, the defendants knowingly transmitted and
caused to be transmitted in interstate commerce, by means of wire communication,
certain writings, signs, signals, pictures, and sounds, for the purpose of executing
the scheme to defraud.

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13. When “upgrading,” “purchasing,” or otherwise charging new cellular
devices to victims’ customer accounts, the defendants knowingly transmitted and
caused to be transmitted in interstate commerce, by means of wire communication,

certain writings, signs, signals, pictures, and sounds, for the purpose of executing

the scheme to defraud.
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ACTS IN FURTHERANCE OF THE CONSPIRACY

14. In furtherance of the conspiracy, and to effect the object and purposes
thereof, the defendants, and others known and unknown to the Grand Jury, committed
and caused to be committed various acts, including but not limited to the following:

a. On or about July 1, 2017, Joshua MOTLEY attempted to fraudulently
acquire two Apple iPhone devices (and did fraudulently acquire one
such device) from the Galleria Apple Store in Glendale, California.

b. On or about August 14, 2017, Dominique BARNES acted as a
lookout while another individual known to the grand jury fraudulently
acquired two Apple iPhone devices from an Apple Store in Irvine,
California. BARNES and his companion were subsequently found in
possession of 15 fraudulently acquired Apple iPhone devices.

c. On or about March 2, 2018, Emmanuel LUTER intentionally logged
out of an AT&T tablet computer in Arlington, Texas, causing a store
employee to re-enter their UserID and password into said tablet while
another individual surreptitiously recorded the interaction.

d. On or about March 25, 2018, Dominque BARNES, Joseph INGRAM,
and two individuals known to the grand jury worked together to steal

a tablet computer from an AT&T store in Winter Springs, Florida.

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BARNES and INGRAM distracted the store employee while the other
two individuals swapped a store tablet with a deactivated tablet that
they had brought with them into the location. The following day,
INGRAM paid the other two individuals $400 each via his Bank of
America account.

e. On or about May 5, 2018, Donnell TAYLOR stole a tablet computer
from an AT&T store in Novi, Michigan. As with the prior incident,
when the employee appeared to be distracted, TAYLOR swapped the
store tablet with a deactivated tablet that he had brought with him.

f. On or about September 21 & 22, 2018, at a different Apple Store in
Novi, Michigan, Dominique BARNES and Joseph INGRAM charged
multiple Apple iPhone devices to the accounts of two victims.

g. On or about November 10, 2018, Emmanuel LUTER provided an
individual known to the grand jury with a rental car, which the other
individual then used to travel to an AT&T store in Dearborn,
Michigan, wherein the individual stole a desktop computer tower.

15. Allin violation of 18 U.S.C. § 1349.

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COUNTS TWO — TWENTY-SIX
(18 U.S.C. § 1028A(a)(1) — Aggravated Identify Theft)

16. Paragraphs 1-15 are incorporated by reference, as though they were
set forth fully herein.

17. In furtherance of the above-described conspiracy, and to effect the
object and purposes thereof, the defendants and others known and unknown to the
grand jury regularly and routinely shared PII (including all or part of a victim’s
name and Social Security Number) with each other via text or SMS messages.
Certain of the defendants communicated with one another directly, but the most
frequent means of communication was by way of one or more “group chats.” This
PII was then used by the recipient(s) to facilitate the fraud scheme outlined above—
at times within minutes of receiving the information—either by opening new
customer accounts, changing customer account information to add authorized users,
adding new service lines, or ultimately charging additional cellular devices to
customer accounts.

18. Accordingly, on or about the dates set forth below, the defendants
specified below did knowingly transfer, possess, and use, without lawful authority,
a means of identification of another person during and in relation to a felony

violation enumerated in 18 U.S.C. § 1028A(c), to wit Conspiracy to Commit Wire

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Fraud, in violation of 18 U.S.C. § 1349, as set forth in Count One, knowing that the

means of identification belonged to another actual person.

19.

Each count herein identifies one defendant who either sent a text

message transferring the specified means of identification; or authored a “note” on

the respective defendant’s cell phone which contained the specified means of

identification. In each instance where a defendant is identified as the “sender” of a

message, the recipient is another member of the conspiracy:

Count | Date Message Sender ee tion Loss
2. July 15,2017 | D-1 Emmanuel Luter | PII of victim C.W.A. $7,752.00
3. July 19,2017 | D-1 Emmanuel Luter | PII of victim D.Y. $7,752.00
4. Sept. 23, 2017 | D-1 Emmanuel Luter | PII of victim DF. $5,394.00
5. Sept. 28, 2017 | D-1 Emmanuel Luter | PII of victim S.M. $3,496.00
6. Oct. 24,2017 | D-1 Emmanuel Luter | PII of victim J.V. $16,132.00
7. Nov. 10, 2017 | D-1 Emmanuel Luter | PII of victim M.D.A. $1,357.00

Count | Date Message Sender Means or tion Loss
8. July 19, 2017 | D-2 Joseph Ingram PII of victim J.M. $12,598.98
9. July 25, 2017 | D-2 Joseph Ingram PI of victim A.J. $9,392.97
10. | Sept. 30, 2017 | D-2 Joseph Ingram PII of victim P.C. $11,987.00

Count | Date Message Sender eae tion Loss
11. | Jan. 6, 2018 D-3 Donnell Taylor PII of victim A.E. $3,447.00
12. | Jan. 6, 2018 D-3 Donnell Taylor PII of victim J.R.S. $13,788.00
13. | Jan. 8,2018 | D-3 Donnell Taylor PII of victim S.I.M. $6,894.00

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14. | Jan. 13,2018 | D-3 Donnell Taylor PII of victim B.W. $4,596.00

15. | Feb.1,2018 | D-3 Donnell Taylor PII of victim D.M. $9,042.00

16. | Feb. 13,2018 | D-3 Donnell Taylor PII of victim J.T.S. $4,596.00

17. | April9,2018 | D-3 Donnell Taylor PII of victim J.L.B. $2,148.00
Means of

Count | Date Message Sender Identification Loss

18. | June 28, 2017 | D-4 Dominque Barnes | PII of victim R.L.J. $51,828.97

19. | Dec.3,2018 | D-4 Dominque Barnes | PII of victim J.D.G. $3,647.00

20. | Dec. 3,2018 | D-4 Dominque Barnes | PII of victim M.F. $4,971.95
Means of

Count | Date Message Sender Identification Loss

21. | July 31,2017 | D-5 Delano Bush PII of victim I.N.G. $14,683.98

22. | July 31,2017 | D-5 Delano Bush PII of victim L.J.T. $37,761.98
Means of

Count | Date Note Author Identification Loss

23. |Feb.7,2018 | D-6 Dalontae Davis PII of victim J.H.S. $5,745.00

24. | Feb. 7,2018 | D-6 Dalontae Davis PII of victim D.M.W. $4,596.00
Means of

Count | Date Note Author Identification Loss

25. | July 1,2017 | D-7 Joshua Motley PII of victim D.T.F. $14,810.93

26. |July1,2017 | D-7 Joshua Motley PII of victim C.G. $13,566.00

20. All in violation of 18 U.S.C. § 1028A(a)(1).
FORFEITURE ALLEGATION
21. Asaresult of the violation(s) of Title 18, United States Code, Section

1349 (conspiracy to commit wire fraud), as set forth in Count One of this

indictment, the defendants shall forfeit to the United States any property, real or

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personal, which constitutes, or is derived from, proceeds traceable to that violation,
pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 28 U.S.C. § 2461.

22. Such property includes, but is not limited to, a money judgment in an
amount to be determined in United States currency and all traceable interest and
proceeds for which the defendant is jointly and severally liable. Such sum in
aggregate is property representing the proceeds of the aforementioned offense, or
money that was involved in the aforementioned offenses, or is traceable to such
property, in violation of 18 U.S.C. § 1349.

23. Pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 18, United States Code, Section 982(b), if any of the property
described above as being subject to forfeiture, as a result of any act or omission of
the defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

Cc. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be

divided without difficulty,

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the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title
18, United States Code, Sections 982(b)(1) and 1029(c)(2) and Title 28, United
States Code, Section 2461(c).

THIS IS A TRUE BILL.

s/Grand Jury Foreperson
Grand Jury Foreperson

DAWN N. ISON
United States Attorney

s/John K. Neal
John K. Neal
Chief, White Collar Crime Unit

s/Ryan A. Particka
Ryan A. Particka
Assistant U.S. Attorney

Dated: June 23, 2022

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se OMAN lONNCASEN DIO arOnMsusa aaatesr saci.) Companion Case Number: 18-cr-20641-TGB
This may be a companion case based upon LCrR 57.10 (b)(4)"': Judge Assigned: Terrence G. Berg
Xlves LINo AUSA’sinitials: RAP RAP

Case 2:22-cr-20321-TGB-APP ECF No. 1, PagelD.17 Filed os22 2A GINAL

(Companion Case information MUST be completed by AUSA and initialed.)

United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

Case Title: USA v. Emmanuel Luter, et al

County where offense occurred : Oakland

Check One: Felony [_]Misdemeanor LlPetty
V_indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: 1
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding?Gasé: Information

Superseding to Case No: Judge:

[_ ]Corrects etrors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

fendant nam Charges Prior Complaint (if applicable)

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

June 23, 2022 Ryan A. Particka

Date Ryan A. Particka
Assistant United States Attorney

211 W. Fort Street, Suite 2001
Detroit, Ml 48226-3277
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Attorney Bar #:

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.

